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Attorney for Plaintiff, Ryan Davis
on behalf of himself and all others similarly situated

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
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 RYAN DAVIS
          Plaintiff,                                           JURY TRIAL DEMANDED

 v.                                                              Case No.

 BOUNCE AI, INC.
         Defendant

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                   COMPLAINT AND DEMAND FOR JURY TRIAL




      Plaintiff, by and through his counsel, Elliot Elo, Esq., as and for his
complaint against Defendant, on behalf of himself and all others similarly
situated, alleges as follows:




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                         I.    INTRODUCTION


1.    This is an action for actual and statutory damages brought by Ryan

      Davis (hereinafter “Plaintiff”) an individual consumer, against,

      Bounce AI, Inc. (hereinafter “Defendant”), for violations of the Fair

      Debt Collection Practices Act, 15 U.S.C § 1692 et seq. (hereinafter

      “FDCPA”), which prohibits debt collectors from engaging in

      abusive, deceptive, and unfair practices.


                  II.   JURISDICTION AND VENUE


2.    Jurisdiction of this court arises under 15 U.S.C § 1692k(d) 28 U.S.C

      1331. Venue in this District is proper in that the Defendant

      transacts business in Teaneck, Bergen County, New Jersey, and the

      conduct complained of occurred in Teaneck, Bergen County New

      Jersey.


                              III.   PARTIES


3.    Plaintiff, Ryan Davis is a natural person residing in Teaneck, New

      Jersey. Plaintiff is a consumer as defined by the Fair Debt

      Collection Practices Act, 15 U.S.C. §1692a(3).

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4.    Plaintiff’s alleged “debt” as defined by the FDCPA, 15 U.S.C

      1692a(5) arose from a transaction entered into primarily for

      personal use.


5.    Upon information and belief Bounce AI, Inc., is a New York

      corporation with its principal place of business located at 70 Linden

      Oaks, Suite 19, Rochester, NY 14625.


6.    Defendant is engaged in the collection of debt from consumers using

      the mail, electronic mail (hereinafter “email”) Small Message

      Service Text (hereinafter “text”) and telephone. Defendant

      regularly attempts to collect consumers’ debts alleged to be due to

      another.


7.    Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C

      1692a(6).


                  8.    IV.    FACTS OF THE COMPLAINT


9.    On or about October 14, 2023, Defendant mailed Plaintiff a

      Dunning Letter, attempting to collect a debt in the amount of

      $2,318.64 allegedly owed to Tally Technologies Inc.

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10.   On or about October 27, 2023, at 10:19 AM EST, Plaintiff received

      a text message from Defendant attempting to collect the same debt.


11.   On or about November 7, 2023, at 5:08 PM EST, Plaintiff received

      a second text message from Defendant attempting to collect same

      debt as before.


12.   On or about November 7, 2023, at 7:50 PM EST, Plaintiff responded

      to Defendant’s text stating “I refuse to pay.”


13.   On or about November 8, 2023, at 1:19 PM EST, the Defendant

      replied and sent a third text message to the Plaintiff, stating: “Hi

      Ryan, claim a reduced settlement for your $2318.64 from Tally

      Technologies Inc.” This action constitutes a violation of 15 U.S.C.

      1692c(c).


14.   On or about November 9, 2023, at 8:28 AM EST, Defendant sent a

      fourth text message to Plaintiff's text stating “Hi Ryan, it’s Dawnte

      from Bounce AI, reaching out to you regarding your options.” This

      action constitutes a violation of 15 U.S.C 1692c(c).




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15.   Plaintiff has suffered actual damages as a result of these illegal

      collection communications by Debt Collector in the form of anger,

      anxiety, intrusion upon seclusion, decreased ability to focus on

      tasks while at work, frustration, amongst other negative emotions,

      as well as suffering from unjustified abusive invasions of personal

      privacy.

                              CLAIM FOR RELIEF
                                (Bounce AI, Inc.)
                                15 U.S.C 1692c(c)

16.   Plaintiff re-alleges and reincorporates all previous paragraphs as if

      fully set out herein.

17.   The Debt Collector violated the FDCPA.

18.   The Debt Collector’s violations include, but are not limited to, the

      following:

           (a) The Debt Collector violated 15 U.S.C § 1692c(c) of the

      FDCPA by communicating with the consumer after the consumer

      notified in writing that he refused to pay.


19.   As a result of the above violations of the FDCPA, Defendant is liable

      to Plaintiff for actual damages, statutory damages and costs.

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          VI.   JURY DEMAND AND PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, Ryan Davis, respectfully demands a jury

      trial and requests that judgment be entered in favor of Plaintiff

      and against the Debt Collector for:


   A. Judgment for the violations occurred for violating the FDCPA;

   B. Actual damages pursuant to 15 U.S.C 1692k(1)(2);

   C. Statutory damages pursuant to 15 U.S.C 1692k(2);

   D. Costs and reasonable attorney’s fees pursuant to 15 U.S.C 1692k(3);

   E. For such other and further relief as the Court may deem just and

      proper.


                                          Respectfully submitted:

                                                /s/ Elliot Elo

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